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                                                          FILED
                                                     January 21, 2022
                                                   CLERK, U.S. DISTRICT COURT
                                                   WESTERN DISTRICT OF TEXAS

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containing a threat to injure and kill government officials, including Official A,
Official B, and Official C, and others.
   All in violation of Title 18, United States Code, Section 875(c).


                                             A    Jf.2.,U�                    BILL

                                                 _________
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�a__a½
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